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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

CHICAGO TEACHERS UNION,         )
LOCAL NO. 1, AMERICAN FEDERATION)
OF TEACHERS, AFL-CIO, et al.,   )
                                )
               Plaintiffs,      )
                                )
     v.                         )            No.    12 C 10338
                                )
BOARD OF EDUCATION OF THE CITY )
OF CHICAGO,                     )
                                )
               Defendant.       )

                      MEMORANDUM OPINION AND ORDER

     Chicago Teachers Union, Local No. 1 (“Union”) and several

individual teachers (“the individual plaintiffs”) have filed suit

against the Board of Education of the City of Chicago (“Board”),

claiming that Board violated Title VII of the Civil Rights Act of

1964 (“Title VII,” 42 U.S.C. §2000e to 2000e-17) when it

instituted a layoff plan that resulted in termination of the

employment of a number of African American teachers and

paraprofessionals.1     Union and the individual plaintiffs wish to

pursue their claims as a class under Fed. R. Civ. P. (“Rule”) 23,

with the class defined in these terms (Compl. ¶9):

     All African American persons terminated by the Board of
     Education of the City of Chicago as a tenured teacher
     or staff, as defined by the labor agreement between the
     Chicago Teachers Union and the Board of Education,


     1
        All “Complaint” references speak of the First Amended
Complaint (Dkt. 5), which will be cited “Compl. ¶--.” Board’s
memorandum will be cited “B. Mem.--,” Union’s response will be
cited “U. Mem.--“ and Board’s reply memorandum will be cited “B.
R. Mem.--.”
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     pursuant to the Board’s “layoff policy” on or after the
     2011 calendar year.

     Board has filed a Rule 12(b)(1) motion to dismiss Union as a

party plaintiff, asserting that it lacks standing to pursue its

claim.   Board argues that the relief sought by Union creates a

conflict of interest between it and its members not included in

the class.   For the reasons stated in this opinion, Board’s

motion is denied at this time.

                            Standard of Review

     Defendants may challenge standing under Rule 12(b)(1) on

either facial or factual grounds.          As to the first alternative,

such challenges “require only that the court may look to the

complaint and see if the plaintiff has sufficiently alleged a

basis of subject matter jurisdiction” (Apex Digital, Inc. v.

Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009)(emphasis

in original)).    By contrast, “a factual challenge lies where the

complaint is formally sufficient but the contention is that there

is in fact no subject matter jurisdiction” (id. at 444, internal

quotation marks omitted and emphasis in original).              To that end

the “district court may properly look beyond the jurisdictional

allegations of the complaint and view whatever evidence has been

submitted on the issue to determine whether in fact subject

matter jurisdiction exists” (id., internal quotation marks

omitted).

     Board does not specify whether it is attempting a facial or

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a factual challenge to Union’s standing, but it appears to be

pursuing the latter course.        In either event a plaintiff such as

Union bears the burden of establishing standing (Retired Chicago

Police Ass’n v. City of Chicago, 76 F.3d 856, 862 (7th Cir. 1996)

(“RCPA II”)).       In the case of a factual challenge, a plaintiff

bears the burden of supporting standing with “competent proof,”

meaning that plaintiff must “show[ ] by a preponderance of the

evidence, or proof to a reasonable probability, that standing

exists” (id.).

                            Statement of Facts2

     Union is a “labor organization” “representing over 30,000

professional educators and Board of Education employees” (Compl.

¶10).       It is the “exclusive bargaining representative for all

teachers and paraprofessional and School Related Personnel

(“PSRP”) in CPS [the Chicago Public School system]” (id.).

     Board operates the Chicago Public School System (“the School

System”)(Compl. ¶2).       It is responsible for the administration of

approximately 685 schools in Chicago’s 77 neighborhoods (id.).

It employs approximately 23,000 teachers, 16,500 of whom are

tenured (id. ¶66).       Approximately 47% of the tenured teachers are

Caucasian, approximately 29% are African American and

approximately 24% are non-African American minorities (id. ¶¶67-



        2
       As this opinion does not deal with any of the substantive
issues on the merits, this Statement of Facts will be brief.

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69).

       During the relevant time period Board and Union were parties

to a collective bargaining agreement (B. Mem. at 2, Ex. 1).

Invoking its position in relation to Board, Union has brought

suit to “redress defendant’s pattern and practice of

discrimination against a class of African American teachers and

paraprofessionals by terminating their employment pursuant to a

layoff policy which has a disparate impact on African Americans”

(Compl. ¶1).

       Union alleges that the decline in the African American

teaching force in the School System (down to approximately 28.7%

in 2011 from 40.6% in 2000) “corresponds directly with a series

of layoffs and school actions conducted by Defendant” (Compl.

¶¶4-5).3   Union alleges that Board targets South and West Side

schools (where “most” of the School System’s African American

teachers are employed) for “layoff at a higher rate” (id. ¶¶4, 6,

39-40).    According to Union that policy “disproportionately

affect[s] African American teachers and staff” and has a

disparate impact (id. ¶¶6, 101-05).

                                  Standing

       For standing-to-sue purposes the general rule is that “an



       3
       As the details of the layoff policy are not salient to
this opinion, they will not be discussed in detail here.
Complaint ¶¶41-64 provides a more thorough discussion of the
policy.

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injured party must assert his own legal rights and interests, and

cannot rest his claim to relief on the legal rights or interests

of third parties” (RCPA II, 76 F.3d at 862, internal quotation

marks omitted).     But in certain situations an organization may

have “associational standing” to represent the rights of its

members, as when (id. at 862-63, quoting Hunt v. Wash. State

Apple Adder. Comm’n, 432 U.S. 333, 343 (1977)):

     (a) its members would otherwise have standing to sue in
     their own right; (b) the interests it seeks to protect
     are germane to the organization’s purpose; and (c)
     neither the claim asserted nor the relief requested
     requires the participation of individual members in the
     lawsuit.

Neither side disputes that (a) and (c) of the Hunt test are met.

But Board challenges Hunt requirement (b), arguing that a

conflict of interest exists that precludes Union from asserting

associational standing.

     On that score “an association fails to meet the second prong

[of the Hunt test] where there is a serious conflict of interest

between the organization and its members” (RCPA II, 76 F.3d at

863), a concept that requires the conflict to be “profound” (id.

at 864).   And to that end RCPA II has recognized at least two

types of conflicts that will defeat associational standing: (1)

“where an association seeks standing to directly sue some of its

own members” and (2) “where the association’s suit, if

successful, would cause a direct detriment to the interests of

its members and the litigation is not properly authorized” (id.).

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Only the second of those types of conflict is at issue here.

     Two concerns are implicated when the second type of conflict

is at issue: (1) “a concern that the litigation is not germane to

the association’s purposes” and (2) “a concern that the

association will not be fully committed to the litigation and, as

a result, will not pursue the litigation with the zealous

advocacy necessary to be an adequate representative” (RCPA II, 76

F.3d at 864-65).     RCPA II, id. at 865 tells us, however, that

“[these concerns are allayed where the litigation was properly

authorized in accordance with the association’s procedures.”

Accordingly Union may defeat Board’s challenge to its

associational standing by showing either that the litigation will

not cause a direct detriment to any of its members or by showing

that the litigation was properly authorized (id.).              Board

contends that Union can make neither of those showings.

Direct Detriment

     Board first argues that this action creates a “profound

conflict of interest” between Union and its members because if

the laid-off teachers are rehired some currently-employed

teachers (also Union members) will necessarily be disadvantaged.

Board cites three potential conflicts in support of its argument.

First, Board asserts that if the discharged African American

teachers are reinstated, the other teachers who replaced them

will be displaced (B. Mem. 7).         Second, Board argues that even if


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reinstatement of the discharged teachers would not displace any

currently-employed Union teachers, “it may unfairly compromise

their seniority, putting purported class members ahead of other

[Union] members who were not displaced in 2012" (id.).               And

third, Board contends that there is a direct detriment to non-

African American Union members because the African American class

members “would receive preferential treatment” in rehiring

decisions “regardless of seniority or other relevant factors”

(id. at 8).

     Union responds that Board is merely speculating about

potential detrimental effects that will not in fact come to

fruition.   As for the claimed displacement of currently-employed

teachers, Union asserts that it is seeking (1) reinstatement of

its affected members into the same positions or substantially

similar positions or (2) front pay and benefits.              Union cites a

March 2013 list of some 400 job openings in the District (U. Mem.

5) and asserts that a successful resolution of its suit will

leave Board with several alternatives, not necessarily requiring

the displacement of any currently-employed teachers.               As to the

issue of seniority, Union acknowledges that it is “possible” that

the rehired teachers may move ahead of newly-hired teachers in

seniority status, but it urges that because it was Board’s own

alleged wrongdoing that caused the issue, “Board can hardly use

its own wrongdoing to deny standing to [Union] to protest the


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wrong inflicted on its members” (id. at 5).4            Finally, Union

addresses Board’s argument that the rehired teachers will receive

“preferential” treatment by stating that any reinstatement remedy

would simply be “a return to the position they would have held

but for the unlawful conduct” (id. at 7).

     Union’s latter two arguments--however persuasive they may be

in equitable terms--really do not address the question whether or

not there is a conflict--whether or not some Union members will

be directly harmed by the remedy sought in this lawsuit.                Simply

put, whether or not it is framed as “preferential” or a “return

to the status quo,” there is a conflict if one group of Union

members will be benefitted at the expense of another group of

Union members.

     In that respect this Court does not write on an entirely

clean Seventh Circuit slate.        First, fully four decades ago Air

Line Stewards and Stewardesses Ass’n, Local 550 v. Am. Airlines,

490 F.2d 636 (7th Cir. 1973)(“Air Line Stewardesses”) made clear

that unions are subject to the ordinary rules of standing.5


     4
       On the next page of its memorandum, Union also challenges
Board’s factual assertion by stating that “In regards to
seniority, there will be no actual change to the seniority status
of younger teachers. If, for instance, a teacher has worked for
five years, no remedy awarded as a result of this lawsuit will
nullify the teachers’ five-year tenure status” (U. Mem. 7).
     5
        It must be noted that Airline Stewardesses addressed the
issue of associational standing under the rubric of Rule 23(a),
asking whether the claims of a representative plaintiff are
typical of the claims of the class and whether the representative

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There a class of female stewardesses6 and their union sued

American Airlines under Title VII, alleging that the airline had

a policy of firing female stewardesses once they became pregnant.

Under the settlement reached by the parties, the discharged

stewardesses would be placed on a “preferential hiring list, to

be employed to fill vacancies before others were hired” (id. at

638).       Those rehired stewardesses would also have the same level

of seniority they had enjoyed up to the respective dates of their

termination (id.).      Our Court of Appeals rejected Union’s

arguments defending its standing, stating (id. at 642, internal

quotation marks, citations and footnotes omitted, emphasis

added):

     We think a union may serve its members by being
     plaintiff in a suit to vindicate their civil rights.
     There is nothing in the law which precluded the Union
     from recognizing the injustice done to a substantial
     minority of its members and from moving to correct it.
     When it espouses the interest of one group of its
     members, it doubtless has an obligation of fairness to


plaintiff will fairly and adequately protect the interests of the
class (id. at 640). That approach to evaluating associational
standing was disavowed by our Court of Appeals less than three
years later in Local 194, Retail, Wholesale and Dep’t Store Union
v. Standard Brands, Inc., 540 F.2d 864, 867 (7th Cir. 1976)
(“Local 194"). Although the same standards may be “applicable by
analogy” (id.), the standards “while similar, [are] not
identical” (RCPA II, 76 F.3d at 864, internal quotation marks
omitted). Hence the cases evaluating the question under a Rule
23 framework may be useful but are not necessarily controlling.
        6
       In the 40 years since Air Line Stewardesses the job title
has changed to “flight attendants,” but in keeping with the
language of that case, this Court will perforce use the
nonegalitarian term “stewardesses” throughout this discussion.

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      any members whose interests are in conflict. But except
      for the area of collective bargaining and its necessary
      incidents, the Union has no unique authority to
      compromise the rights of its members. Its adequacy as a
      representative party in a class suit, and its authority
      to compromise the rights of its members in a class suit
      when such rights do not arise out of collective
      bargaining agreements are to be tested and judged in
      the ordinary way.

      Just a few years later Local 194, 540 F.2d at 866 again

spoke to the issue of a union’s associational standing.7                In that

case a class of “blacks, Spanish-surnamed persons, and women” and

their union sued their employer under Title VII, alleging

discrimination in hiring and promotion.            Local 194, id. at 866

first found that Union did have standing to seek injunctive and

declaratory (but not monetary) relief on behalf of its members

and then went on to address specifically the issue of

“conflicting interests.” As Local 194, id. stated (emphasis

added):

      Often a union finds itself in the position of
      representing a membership whose interests conflict, not
      only in Title VII cases, but in its collective
      bargaining role. This does not disqualify it from
      acting at all. Union’s duty is to represent fairly the
      interests of all members without discrimination towards
      any.

      Our Court of Appeals again addressed the issue, this time

specifically applying the Hunt test, in RCPA II, 76 F.3d at 862-

67.   There the Retired Chicago Police Association brought suit


      7
       Both Air Line Stewardesses and Local 194 were decided
pre-Hunt and, of course, did not address the three-factor test
that controls this case.

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challenging a settlement between the City of Chicago and certain

of its pension funds because of the settlement legislation’s

effect on certain healthcare costs.           After a thorough discussion

of associational standing and the Hunt test, the court found that

a “profound” conflict of interest existed because if the RCPA was

successful in invalidating the settlement legislation, certain

members of the association would be “directly harmed” because

they would lose the subsidy provided to them by the legislation

and their health care premiums would increase by $4 every month

(id. at 865).8     That “direct detriment” to other association

members defeated the RCPA’s standing.

     While Local 194 and RCPA II may seem to be somewhat at odds,

RCPA II is the only case to use the Hunt framework and address

the specific issue of “profound conflicts,” and the situation

there is analogous to Board’s characterization of the situation

posed by this case.      In claimed support of that characterization

Board has tendered a declaration of Lauren Clair-McClellan, a

human resources employee in the School System (B.R. Mem. Ex. 2).

     For its part Union argues that currently-employed teachers

will not necessarily be harmed.          In partial support of that

position Union cites the earlier-referred-to website that lists

approximately 400 open jobs into which the plaintiff teachers


     8
       RCPA II, id. at 866-67 also found another conflict, not
analogous to the case at bar, based on a breach of fiduciary
duty.

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could be placed.9     And as stated earlier, Union also says that

its goal is flexible:       It need not take the form of placing the

teachers into the same spots that they originally held, but can

alternatively place them in similar positions or award them

backpay.10

     To be sure, it is Union’s burden to establish standing “by a

preponderance of the evidence, or proof to a reasonable

probability, that standing exists” (RCPA II, 76 F.3d at 862).                     Or

as RCPA II, id. at 865 goes on to say:

     [W]here a defendant asserts that a direct-detriment
     conflict of interest precludes an organization from
     asserting associational standing, the organization
     bears the burden of coming forward with competent proof
     to rebut the challenge.

But Board and its counsel have forgotten--or perhaps have

preferred to ignore--that this opinion is not being issued in a

vacuum.   As it is being written, Board is awash in a sea of

uncertainty.     Just to name the enormous problem that continues to

receive the greatest degree of public scrutiny, Board is at the

outset stage of implementing a massive set of school closings,

with its own program for doing so very much in a state of flux.

And every day’s newspaper and television coverage speaks of other



     9
       That list is dated March 28, 2013. Obviously the list
will not remain static throughout the course of this litigation.
     10
       Union acknowledges that it does not have standing to seek
backpay (see Local 194, 540 F.2d at 865), but that does not
impede the individual plaintiffs from doing so.

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complex factors making Board’s and its teachers’ future paths

highly uncertain.11     In this extraordinarily dynamic rather than

static state of affairs, Board’s hypothetical contentions about

potential conflicts are rendered even more iffy.

     What emerges from all of this is that more factual

development is essential before it can            be determined whether

Union is to be forced out of this lawsuit on a lack-of-standing

basis as a matter of law.        In many ways the situation is

analytically similar to a request for a grant of qualified

immunity by a state actor in a Section 1983 lawsuit, where the

result hinges on the resolution of which side’s version of

disputed facts proves to be accurate (see, e.g., Pearson v.

Callahan, 555 U.S. 223, 238-39 (2009)).            In that context the

Supreme Court has taught that the denial of such a motion in the

early stages of the lawsuit is the proper course of action.


     11
        Last Sunday’s June 16 Chicago Tribune sec.1, p.7, col. 1
has elaborated on the Tribune’s day-earlier report that the
massive school closings will carry with them the layoffs of 420
teachers, many with tenure (some with satisfactory, others with
unsatisfactory, ratings). Another 125 teachers will be laid off
as the result of “turnarounds” at five schools slated for
overhauls. This Court is not of course minimizing the serious
problems posed by Board’s anticipated budget shortfall of nearly
$1 billion during the coming years--Union’s Vice President is
quoted in the Tribune article as speculating that as many as
1,000 to 2,000 layoffs could be in the offing. It is a mistake
to think of the issues presented here as though they involved a
figurative snapshot of a stable situation, rather than a motion
picture of a changing situation. What is undeniable is that
neither side is in possession of a crystal ball, let alone an
unclouded one. And that uncertainly confirms the wisdom of the
no-decision decision announced here.

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     Just so here.      This action will carry on with or without

Union, for the separately represented individual plaintiffs are

not targeted by Board’s present motion.            But further developments

as to those persons might render some issues inappropriate for

resolution, so that Union’s continued presence would be essential

to a total outcome.      Moreover, any disparity in the resources

needed to litigate the issues as between Board and the individual

plaintiffs would be less of a factor--or perhaps a

nonfactor--with Union still in the case.12            In short, Board’s

motion is best denied at this time, without prejudice to its

possible renewal if future factual developments reveal the real

world likelihood of the required “profound conflicts.”

Authorization

     That really dispatches Board’s motion for a determination as

a matter of law at this point, but the just-stated possibility of

a need to reexamine the question at a future date in light of

future developments makes it appropriate to look at the second

branch of the RCPA II analysis:          the prospect that even if a

direct detriment to the interest of some of Union’s constituents

were to be shown, the conflict could still be waived if Union

obtained proper authorization.         As RCPA II, 76 F.3d at 865 has


     12
        Although this is not an (let alone the) analytical basis
for the conclusion reached here, it is worth noting that the
result arrived at in this opinion enhances the prospect that the
ultimate battle on the merits of the case will be waged (as all
legal issues ought to be) on a level playing field.

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put it, once a “direct detriment” has been shown, the plaintiff

must show that “the litigation was properly authorized in

accordance with the association’s procedures.”

     On that score Board contends Union has not alleged that it

obtained such authorization, while Union responds that it is

“inherently authorized [to bring this action] by virtue of its

status as the exclusive representative of all CPS teachers” (U.

Mem. 8).   Union argues that it is certified under Illinois law as

the exclusive representative of the interests of its members

“even when those interests conflict” and that it is in fact

Union’s job to resolve those conflicts (id. at 8-9).               Union

attempts to distinguish RCPA II, which required some affirmative

showing of an authorization, because RCPA II involved a

“voluntary association,” whereas Union has “inherent

authorization” (id. at 9).

     RCPA II, 76 F.3d at 865 imposed the authorization

requirement because once the membership of an association has

“affirmed that the detriment to some members’ interests does not

render the litigation outside the germane interests” of the

group, “a court can be assured that the association will pursue

the litigation with the strong advocacy and persistence necessary

to be an effective representative.”           Hence no notion of “inherent

authorization” would be in keeping with the policy behind the

requirement, for if all conflicts were automatically waived by


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default there would be nothing to give the courts the assurance

described by RCPA II.       That case made no statement as to a

distinction between “voluntary associations” and unions, as urged

by Union, and the latter cites no authority to support such a

proposition.     In sum, if the issue decided here became

appropriate for a fresh look in the future as to a real rather

than hypothetical conflict, Union would have to make a better

showing.

Other Measures

     One last possible issue for potential future consideration

bears mention.     Before this Court could rule that associational

standing does not exist, it would be required to assess whether,

in the language of our Court of Appeals at an earlier stage of

the same litigation that later produced the RCPA II opinion

(Retired Chicago Police Ass’n v. City of Chicago, 7 F.3d 584, 607

(7th Cir. 1993) (“RCPA I”)):

     other approaches less drastic than denying group
     standing will provide adequate protection for the
     interests of those whose position is not represented by
     the group, while affording the group and the judicial
     system as a whole the efficiencies that [Int’l Union
     v.]Brock, [477 U.S. 274 (1986)] has identified in
     associational standing.

Here this Court sees no less drastic alternative.              If future

events were to call for dismissal of Union as a plaintiff on

lack-of-standing grounds, the quoted RCPA I teaching would not

negate that outcome.


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                                  Conclusion

     For the above-stated reasons, Board’s current motion for

Union’s dismissal is denied.         Union will remain a party to the

action.   This Court sets the next status hearing for 9:15 a.m.

June 25, 2013.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   June 18, 2013




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